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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

     UNITED STATES OF AMERICA                  :
                                               :      1:23-CR-10
            v.                                 :
                                               :
     FRANCIS FORD,                             :
                                               :
            Defendant.                         :

          DEFENDANT’S POSITION WITH RESPECT TO SENTENCING FACTORS
               AND APPLICATION OF THE SENTENCING GUIDELINES

            COMES NOW the Defendant, FRANCIS FORD, by and through counsel, and

     respectfully submits his position in regard to sentencing factors. After review of the Pre-

     Sentence Investigation Report submitted by the United States and United States

     Probation Of cer, the Defense respectfully requests that this Court consider a

     downward departure proportional with the co-defendant’s sentence and appropriate to

     the Defendant’s role in the offense, prior criminal history, and other relevant factors.




     I. RELEVANT BACKGROUND

            The Defendant has no dispute with the facts recounted in the PSR and Statement

     of Facts.

            The United States correctly points out that “Ford was not always accompanied

     by Fleet when Ford attempted robberies.” They cite a single instance of an attempted

     robbery. The Court should also take note of the Statement of Facts in Mr. Fleet’s case.
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          See Case 1:21-cr-00192-LMB, Document 30. Both Mr. Fleet and Mr. Ford have likely

          bene ted from the Government’s grace in offering plea agreements that do not

          encompass all potentially provable criminal conduct and mandatory minimum

          sentences. However, the Court must still make its determination of the appropriate

          sentence with the evidence presented.

                    The following table summarizes the Government’s evidence regarding the

          involvement of Jon Fleet and Francis Ford:



          Date             Victim & Location                Description

          1/14/21          Macy’s (Spring eld, VA)          Fleet entered store and brandished rearm.
                                                            Fled with $300.
                                                            Fleet admits involvement in Statement of Facts.

          2/12/21          McDonald’s (Alexandria, VA)      Fleet entered and robbed store.
                                                            Fleet claimed Ford was present.
                                                            Fleet admits involvement.

          2/17/21          Exxon                            Fleet claims he and Ford drove to Exxon.
                                                            Fleet claims it was Ford’s idea.
                                                            Fleet claims Ford completed robbery.

          2/21/21          Subway (Largo, MD)               Fleet entered while Ford waited in car.
                                                            Fleet brandished rearm and took $500.
                                                            Ford admits involvement in Statement of Facts.

          2/23/21          Papa John’s (Falls Church, VA)   Fleet walks in followed by Ford.
                                                            Fleet brandished rearm.
                                                            Ford feigns possession of rearm by reaching at
                                                            waistband.
                                                            Fleet admits involvement in Statement of Facts.

          3/7/21           Marathon (Upper Marlboro, MD)    Ford and Fleet drive together.
                                                            Ford walks in alone brandishing sawed-o shotgun.
                                                            Clerk refuses to give Ford money.
                                                            Ford admits involvement in Statement of Facts

          3/13/21          Domino’s (McLean, VA)            Fleet walks into store and brandished sawed o
                                                            shotgun.
                                                            Fleet took approximately $386.
                                                            Fleet admits involvement in Statement of Facts
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       Regarding the proportionality of sentences, the Court should certainly consider

what the Government has already pointed out in its argument regarding Mr. Fleet: Mr.

Fleet was charged with 10 counts related to various armed robberies. He was facing a

potential sentence far in excess of the 17 years of mandatory minimum time (that the

parties agreed to recommend) for two counts of 924(c) convictions . For the two counts

to which he plead guilty, Mr. Fleet’s sentencing range was 262 to 327 months. This

Court imposed the mandatory minimum 17 years (204 months), a 58 month departure

from the low-end of the guidelines. That sentence was jointly recommended by the

parties in Mr. Fleet’s case pursuant to a plea agreement.



II. ARGUMENT

(1) Overview of USSG

       A sentencing court must consult the advisory sentencing guidelines and take

them into account prior to sentencing. United States v. Booker, 542 U.S. 220, 264 (2005). A

sentencing court is required to fashion a sentence that is “suf cient, but not greater than

necessary” to assure the various sentencing goals are achieved. 18 U.S.C. 3553. A

sentencing court must not “presume that a sentence within the applicable Guidelines

range is reasonable.” Nelson v. United States, 555 U.S. 350, 352 (2009). A sentencing court

shall consider the various factors enumerated in Section 3553. The factors most

pertinent to this case are detailed below.
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(2) Position on the Sentencing Guidelines Calculation

           The defense maintains its position taken with the Probation Of cer regarding Mr.

Ford’s role in the offense.

           Mr. Ford should receive a 2 level decrease for his role in the offense as a minor

participant pursuant to 3B1.2. There was at least one other participant - Jon Fleet - who's

culpability exceeds that of Mr. Ford. Co-Defendant Jon Fleet (1:21-CR-192-01) was

substantially more culpable that Mr. Ford in that he committed more robberies that Mr.

Ford, he completed each robbery committed, and the was the leader and organizer of

most offenses. Speci cally, Fleet committed at least 5 completed robberies (1/14 Macy's,

2/12 McDonald's, 2/21 Subway, 2/23 Papa John's, 3/13 Dominos). And, while Mr. Ford

may have conspired or aided and abetted in a number of these, and committed at least

one completed and one attempted robbery, Mr. Fleet's actions and culpability still

exceed that of Mr. Ford. More importantly, it is apparent from the evidence and Mr.

Fleet's history of prior robberies that he was the leader and organizer of the robberies.

           It is axiomatic that the government must prove by a preponderance of evidence

the applicability of a sentencing enhancement. See, e.g., United States v. Steffen, 741 F.3d

411, 413 (4th Cir.2013). "The determination whether to apply subsection (a) or

subsection (b), or an intermediate adjustment, is based on the totality of the

circumstances and involves a determination that is heavily dependent upon the facts of

a particular case." 3B1.2 Application Note (C). Among considerations is "the degree to
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which the defendant participated in planning or organizing the criminal activity" (3B1.2

Note (C)(ii)), and "the nature and extent of the defendant's participation in the

commission of the criminal activity, including the acts the defendant performed and the

responsibility and discretion the defendant had in performing those acts." Note (C)(iv).



(3) The Nature and Circumstances of the Offense and the History and the
    Characteristics of the Defendant.

       The major tragedy of this case is that Mr. Ford committed these offenses while he

was hanging by a thread, which he was later able to climb upon and begin restoring his

own life. At the time of the offenses, Mr. Ford was homeless. He had become homeless

after voluntarily leaving his relationship with his young children’s mother. He had

found that she was unfaithful to him. Years ago, Mr. Ford had been prosecuted for a

violent episode against a prior signi cant-other when he found her cheating on him.

And, although - in this case - his heart was devastated and reeling from his discovery,

he was determined not to make the same mistake again and react with violence. So

instead, he chose to leave his children’s mother though he had no permanent housing

for himself.

       For a time being, he was able to make ends meet. He stayed with family and

friends. But, after some time with temporary shelter, he became utterly homeless, living

on the streets, and occasionally staying at overcrowded and violent men’s shelters. He

often found those shelters to be too dif cult to reside in, even on an overnight basis. He
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lived in fear of assault and guarded his few belongings vigilantly. And so, he often

simply lived on the street.

       During that time, he was in his most desperate state. He often drank himself into

oblivion. Either to escape the cold of the night, or the discomfort of the street, or to

escape the reality of living without his children and the woman he had loved. And, in

that state, he met Jon Fleet.

       Jon Fleet’s own story is described by his counsel in his own Sentencing

Memorandum. It is evident that Jon Fleet was a person controlled by his own

desperation, and primarily fueled by addiction. And in that state, he recruited Francis

Ford. Francis was not a drug addict, but he was a malleable and sometimes disparate

person. The Court might note that it’s approximately 30 days into Jon Fleet’s 60 day

crime-spree before Francis Ford evidently appears.

       When asked why he participated, Mr. Ford would describe the despair of simply

wanting a warm place to sleep at night, or needing the money to buy a bottle of liquor

to drink himself into oblivion. That is the bene t that Mr. Ford derived from these

crimes. Jon Fleet might let Mr. Ford sleep at Fleet’s mother’s home, or pay him enough

to buy a bottle. Mr. Ford could be the poster-child on this Nation’s backward thinking

on crime-prevention versus prosecution.

       But, as it happened, during this time Mr. Ford had already begun working with

the District of Columbia’s resources for unhoused persons. And, things began to
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improve for Mr. Ford. He was able to enter a stable and safe shelter. And then was able

to enter a complex where he had his own room.

       During this time, he was regularly meeting with his kids after school. He was

working odd jobs and had money in his pocket. He would sometimes take his kids out

to dinner, or to ride horses, or to swim. During these moments, he felt his full potential.

He was a father. He was loved. He loved his children. And he was determined to

prove to his children and to his own self that he would be that man.

       But his past was close behind him. Investigators soon located him and he gave a

voluntary interview. He admitted to his involvement. As the case progressed, his

housing application also progressed. By the time of his arrest, he had become eligible

for permanent housing in a 1-bedroom apartment. Enough room to have his children

over for the nigh every so often.

       Mr. Ford grew up in rural Maryland. His parents were blue-collar workers. He

was the oldest of his siblings. He fondly recalls his childhood. He had a close-knit

family, and is still close to his siblings and mother. When his father passed away from

colon cancer in his 50’s, Francis was in high school. He tried to ll his father’s shoes at

that time, and stopped going to school in order to go to work.

       Francis recalls being despondent that he was never achieving all he could, and

never building his own reality. From leaving school in the 11th grade in order to work,

to working menial jobs for the next several decades. It was probably not until Francis
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felt the depth of love and con dence at being a father to his two young children that he

felt his true purpose in life.

(3) The need for the sentence imposed to serve various purposes.

       The Court is readily familiar with the goals of sentencing: the need to re ect the

seriousness of the offense, to promote respect for the law, and to provide just

punishment for the offense; the need to afford adequate deterrence to criminal conduct;

the need to protect the public from further crimes of the defendant; and the need to

provide the defendant with needed educational or vocational training, medical care, or

other correctional treatment in the most effective manner. The Defense respectfully

submits that a sentence signi cantly below the low-end of the guidelines is far more

than is necessary meet all these goals.

       The defense takes the position that a sentence of one year or less will permit Mr.

Ford to retain his housing voucher and perhaps leave prison and reenter the D.C.

housing program. Counsel had communicated with Mr. Ford’s housing counselor’s

and it is not known at this time whether his voucher “window” can be extended for

more than a few months. However, it appears clear that he will need to “start from

scratch” if he serves any more than 12 months incarceration.

(3) The need to avoid unwarranted sentence disparities among defendants with
similar records who have been found guilty of similar conduct.

       The Government takes the position that “a Guidelines sentence will not result in

an unwarranted sentence disparity. Although Fleet was sentenced to 17 years in prison,
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his level of culpability and criminal history (which quali ed him as a Career Offender)

was more extensive than Ford’s.” His involvement in the string of robberies was more

extensive. But theGovernment maintains that Mr. Ford should face a guidelines

sentence even though Mr. Fleet, a Career Offender, received a downward departure of

58 months from the low-end of his recommended sentence.

       Among the dif culties the Court has in this case is sorting out the bene ts

already granted by the Government. That analysis is a rabbit hole. It is evident that

Mr. Fleet avoided multiple mandatory minimum sentences for provable armed

robberies. And the Government has extended some grace in not charging Mr. Ford with

crimes associated with mandatory minimum sentences.

       So, the Court may simply sentence each defendant as they are. At worst, Mr. Ford

should receive a sentence of 49.05 months (204/263 = 49.05/63) which re ects the

minimum proportional sentence calculated by percentage of downward departure. At

best, Mr. Ford should receive a 58 month departure from the recommend low-end of 63

months for an active sentence of 5 months, of which he’s already served. Or, the Court

may recognize the justice in imposing a sentence of 12 months or less, recognizing that

it will offer Mr. Ford the best transition from incarceration to housing since it appears

his housing voucher may remain active for several more months.
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     III.        CONCLUSION

                 WHEREFORE based on the foregoing reasons and any others that may appear to

     the Court, Mr. Ford respectfully requests the Court impose no more than 12 months

     active incarceration. The Defense further requests that the Court consider

     recommending a Bureau of Prisons designation within 200 driving miles of the

     Defendants residence and that he be recommended for the RDAP treatment program.




     Respectfully Submitted



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                                     CERTIFICATE OF SERVICE
     I hereby certify that on this 19th day of March, 2023, I electronically led the foregoing
     Motion with the Clerk of Court using the CM/ECF system, which will then send a
     noti cation of said ling (NEF) to the following:

     Cristina Stam
     Assistant United States Attorneys
     United States Attorney’s Of ce (Alexandria) 2100 Jamieson Avenue
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                                                _____________/s/______________
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